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1
2                                   UNITED STATES DISTRICT COURT
3                                  NORTHERN DISTRICT OF CALIFORNIA
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7
     MARTIN CALVILLO MANRIQUEZ,
8    JASON SPENCER, RTHWAN DOBASHI,
9    and JENNIFER CRAIG on behalf of
     themselves and all others similarly situated,
10
                     Plaintiffs,
11                                                       Case Number: C 17-cv-07210-SK
12          v.
                                                         JOINT SUBMISSION OF PLAN TO
13   ELISABETH DEVOS, in her official                    ADMINISTER SANCTIONS
     capacity as Secretary of the United States
14   Department of Education,
15
     And
16
     THE UNITED STATES DEPARTMENT OF
17   EDUCATION,
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                      Defendants.
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            On October 24, 2019, the Court found Defendants in civil contempt of the preliminary
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     injunction issued in this case. ECF No. 130. Defendants requested payment from some of the
3
     potential class members Defendants have identified in their compliance reports, in some instances
4
5    collecting payments from them, both involuntary and voluntary.         Additionally, Defendants

6    reported negative information about some potential class members to consumer reporting agencies.
7
     ECF No. 130 at 6. The Court ordered a monetary sanction of $100,000, to be paid by Defendants
8
     to a fund administered by counsel for Plaintiffs. Id. The Court contemplated that some portion of
9
     the fund will be used for administrative expenses. Id. The Court ordered the Parties to meet and
10
11   confer regarding the method by which to administer the funds, and submit a proposed plan no later

12   than December 20, 2019. ECF Nos. 130, 145 (granting extension).
13
            On December 2, 2019, the Department filed a Compliance Report (December Report). ECF
14
     No. 156. Utilizing the information contained in the December Report, supplemented by
15
     information provided by Defendants to Plaintiffs by agreement on December 13, 2019, Plaintiffs
16
17   propose the following plan for administering the fund.

18          Plaintiffs have conferred with Defendants.        Solely for the purposes of this Joint
19
     Submission, Defendants’ do not oppose Plaintiffs’ proposal, but they take that position without
20
     any concession that ECF No. 130 was properly or lawfully decided, any waiver of any rights
21
     Defendants might have to contest or challenge ECF No. 130, or any admission as to the factual
22
23   assertions and allegations in paragraphs 1 – 11 below. Plaintiffs also do not waive any right to

24   contest or challenge ECF No. 130. As Defendants have previously reported, the set of identified
25
     potential class members is overinclusive, and thus the number of harmed borrowers used in this
26
     proposal likely includes non-class members. Specifically, Defendants are still in the process of
27
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     validating data related to when borrowers submitted their applications in order to remove
1
2    borrowers from the impacted list who made all of their identified voluntary or involuntary

3    payments before they filed their borrower defense application and were put into forbearance on
4
     that basis. Additionally, Defendants are also still in the process of reviewing the borrower defense
5
     applications of members of identified potential class members to remove borrowers whose
6
     applications do not rely on the Department’s job placement rate findings. Accordingly, Defendants
7
8    submit that the number of harmed borrowers used for purposes of this proposal should be adjusted

9    downward as non-class members are excluded from the number of harmed borrowers.
10
     Universe of Affected Individuals
11
                The December Report indicates that, contrary to the Department’s instructions to its loan
12
     servicers, payment was requested from over 45,000 individuals, including class members. Within
13
14   this total, the December Report provides information on the number and identity of potential class

15   members who experienced specific types of harm flowing from the borrowers being placed in the
16
     wrong repayment status: involuntary payment (i.e., loan debt collection through means such as
17
     administrative wage garnishment or tax refund offset), voluntary payment, and negative credit
18
     reporting. According to that report:
19
20         •    2,358 potential class members experienced involuntary collection;

21         •    14,611 potential class members submitted payments;
22
           •    5,901 potential class members had negative reports made to credit reporting agencies. 1
23
24
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26
27   1
         Some individuals experienced multiple types of harm.
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             Information provided by Defendants on December 13, 2019, shows that the Department
1
2    has refunded $21,851,964.50 to individuals in relation to the unlawful collection. Approximately

3    twice as much was refunded to borrowers who made voluntary payments as to borrowers who
4
     faced involuntary collections. 2 The total amount refunded may be less than the total amount
5
     collected in violation of the injunction, because, as of the date Defendants provided Plaintiffs with
6
     this information, Defendants had not refunded all amounts collected, as explained in the December
7
8    Report. However, as Defendants have previously advised, the group of identified potential class

9    members is overinclusive, and so the number of potential class members who received refunds
10
     likely includes non-class members who necessarily did not have funds collected in violation of the
11
     injunction. Because Defendants do not have ready access to information about the total amount
12
     collected in violation of the injunction, this plan relies on information about the amounts refunded.
13
14           The mean amount of money refunded to potential class members following voluntary

15   collection is $1,114.41. The mean amount of money refunded to potential class members following
16
     involuntary collection is $3,533.99. The earliest instance of each type of collection is May 2018.
17
     The Department has not provided, and Plaintiffs have not requested, information to facilitate an
18
     analysis of the amount of time between collection (voluntary or involuntary) and return of the
19
20   monies collected, or the amount of time between negative credit reporting and correction of that

21   reporting.
22
23
24
25
26   2
       The precise refunded amount attributed to voluntary and involuntary payments is unclear based on the information
     provided by Defendants, because some individuals faced both types of collections, and Plaintiffs only received their
27   total amount refunded.
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     Proposed Plan
1
2       1. A class member’s experience of harm resulting from noncompliance with the Court’s

3          preliminary injunction (involuntary collection, voluntary collection, and adverse credit
4
           reporting) qualifies that individual for a distribution from the sanctions fund.
5
        2. The fund, less administrative costs, should be divided amongst qualifying class members.
6
           N = ($100,000, the amount of sanctions fund) minus ($0, administrative costs).
7
8       3. There have been approximately 22,870 instances of potentially qualifying harm to date.

9       4. The types of qualifying harm warrant different levels of compensation.
10
        5. Where a class member was subjected to involuntary collection it is likely to have caused
11
           the greatest degree of compensable harm because it can occur unexpectedly and therefore
12
           potentially disrupts the financial affairs of individuals most severely. Negative credit
13
14         reporting is likely to have caused the least amount of compensable harm to class members,

15         because the negative report is not the sole determinant of an individual’s credit profile.
16
        6. The mean amount collected represents a reasonable approximation of the relative harm to
17
           class members between those subject to involuntary and voluntary collection, with
18
           involuntary collection resulting in 3 times as much compensable harm as voluntary
19
20         collection.

21      7. Each of the 5,901 instances of negative credit reporting for class members should be
22
           compensated, pro rata, out of 10% of N.
23
        8. The remaining 90% of N should be divided between instances of voluntary and involuntary
24
           collection against class members, with instances of involuntary collection weighted by a
25
26         factor of 3.

27
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               a. Involuntary = 2358 instances x 3 = 7074 units
1
2              b. Voluntary = 14,611 instances = 14,611 units

3              c. Sum = 21,685 units
4
        9. Overall, each instance of negative credit reporting for class members warrants (10% N)
5
           divided by (5901). Each instance of involuntary collection against class members warrants
6
           ((90% N) divided by (21,685)) multiplied by three. Each instance of voluntary collection
7
8          against class members warrants (90% N) divided by (21,685).

9       10. Applying this formula, assuming zero administrative costs, each instance of negative credit
10
           reporting for class members would warrant compensation of $1.69. Each instance of
11
           involuntary collection against class members would warrant $12.45 of compensation. Each
12
           instance of voluntary collection by class members would warrant $4.15 of compensation.
13
14      11. Because the administrative cost of distributing individual payment by check would in some

15         if not all instances be greater than the amounts to be distributed, these amounts should be
16
           applied as a credit against the loan balance of each harmed class member.
17
18   Dated: December 20, 2019                       Respectfully submitted,

19
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20
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